             CASE 0:16-cr-00334-JNE-KMM Document 135 Filed 06/14/19 Page 1 of 2

                     IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                                SENTENCING

UNITED STATES OF AMERICA,

                               Plaintiff,

v.                                                             COURT MINUTES - CRIMINAL

PAUL R. HANSMEIER,                                          Case No:          16-cr-334 (JNE/KMM) (1)
                                                            Date:             June 14, 2019
                               Defendant.                   Court Reporter:   Kristine Mousseau
                                                            Courthouse:       Minneapolis
                                                            Courtroom:         12W
                                                            Time Commenced:   9:40 a.m.
                                                            Time Concluded:    11:11 a.m.
                                                            Time in Court:     1 Hour & 31 Minutes
Defendant’s true name if different from charging instrument:
☐Parties ordered to file stipulation or proposed order for name change.
☐Clerk of Court is directed to change name to:

Before Joan N. Ericksen, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:
For Plaintiff: Benjamin F. Langner and David J. MacLaughlin, Assistant U.S. Attorneys
For Defendant: Manvir K. Atwal, FPD

Interpreter / Language:    /

☒ Evidentiary Hearing
☒ Sentencing
☐ Hearing held on objections to the presentence report

IT IS ORDERED:

Defendant is sentenced to:

 Count No.       Plea          Verdict            BOP            AG            SR        PROB           HA
     1            ☒              ☐             168 months                    2 years
    17            ☒              ☐             168 months                    2 years


Said terms to run ☒ concurrently ☐ consecutively

☐ Special conditions of:
                                            See J&C for special conditions
            CASE 0:16-cr-00334-JNE-KMM Document 135 Filed 06/14/19 Page 2 of 2


☒Defendant sentenced to pay:
     ☐ Fine in the amount of $.
     ☒ Restitution in the amount of $1,541,527.37.
     ☐ Costs of prosecution in the amount of $ to be paid .
     ☒ Special assessment in the amount of $200 to be paid immediately.

☐ Plea and plea agreement accepted.
☐ Court Ordered Denial of Federal Benefits.
☒ Execution of sentence of imprisonment suspended until July 9, 2019.
☒ Defendant released pending execution of sentence of imprisonment on same terms and conditions as
previously released.
☐ Execution of sentence of fine suspended.
☒ On Motion of the Gov't, the indictment in counts 2-16 and 18 is dismissed as to this defendant only.
☐ Motion for departure is ☐ granted ☐ denied.
☐ Defendant remanded to the custody of the U.S. Marshal.

☒ Defendant’s Motion for Post-Sentencing Release Pending Appeal [Docket No. 132] is DENIED.

☒ Docket no.: 130 shall be unsealed at the time the judgment is filed.
☐ Docket no.: shall remain sealed until .
☐ Docket no.: shall be sealed indefinitely.


                                                                                               s/Mark Hamre
                                                                                        Signature of law clerk
